Case No. 1:03-cv-01196-WYD-CBS          Document 33     filed 01/31/07    USDC Colorado
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 03-cv-01196-WYD-CBS

JAMES W. MUZZY,

             Plaintiff/Counterclaim Defendant,

      v.

UNITED STATES OF AMERICA,

             Defendant/Counterclaim Plaintiff.


UNITED STATES OF AMERICA

             Third-Party Plaintiff,

v.

HARRY CONGER,

             Third-Party Defendant.



           SATISFACTION OF JUDGMENT AGAINST HARRY CONGER


      The judgment entered against Third-Party Defendant Harry Conger on January 25, 2005,
Case No. 1:03-cv-01196-WYD-CBS            Document 33         filed 01/31/07   USDC Colorado
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docket entry #29, has been satisfied.

       Dated this 31st day of January, 2007.

                                               TROY A. EID
                                               United States Attorney
                                               MARK S. PESTAL
                                               Assistant U.S. Attorney

                                               s/Philip E. Blondin
                                               PHILIP E. BLONDIN
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                           CERTIFICATE OF SERVICE (CM/ECF)


       I hereby certify that on January 31, 2007, I presented the foregoing to the Clerk of Court

for filing and uploading to the CM/EFC system which will send notification of such filing to the

following e-mail addresses:

philip.blondin@usdoj.gov

Western.Taxcivil@usdoj.gov

and I hereby certify that I have mailed by United States Postal Service the document to the

following non-CM/ECF participants:

Harry Conger
#3 Puerto Court
Sante Fe, New Mexico 87508




                                             s/Philip E. Blondin
                                             PHILIP E. BLONDIN
                                             Trial Attorney, Tax Division
                                             U.S. Department of Justice




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